Case 6:11-cv-00135-CEH-GJK Document 2 Filed 01/28/11 Page 1 of 1 PagelD 10

AO 440 (Rev. 10/93) Summons in a Civil Action

UNITED STATES DISTRICT COURT

MIDDLE DISTRICT OF FLORIDA
ORLANDO DIVISION

CARL CURTIS HODGES,

Individually, and SUMMONS IN A CIVIL CASE
HODGES BROTHERS, INC.,

HODGERS BROTHERS ROOFING, INC.,

Plaintiffs

V.

CASE NUMBER: ('(\-C\-(25-Ox1~(YGTIC
SCHOOL BOARD OF ORANGE
COUNTY, FLORIDA

TO: SCHOOL BOARD OF ORANGE COUNTY, FLORIDA
445 W. Amelia Street
Orlando, FL 32801

YOU ARE HEREBY SUMMONED and required to serve upon PLAINTIFF'S ATTORNEY:

Lindsay N. Oyewale Esquire

Thomas F. Neal, Esquire

de Beaubien, Knight, Simmons, Mantzaris & Neal, LLP
332 North Magnolia Avenue
Post Office Box 87

Orlando, Florida 32802-0087
Telephone: (407) 422-2454

Facsimile: (407) 849-1845

an answer to the complaint which is herewith served upon you, within twenty gh days after service of
this summons upon you, exclusive of the day of service. If you fail to do so, judgment by default will be
taken against you for the relief demanded in the complaint. You must also file your answer with the Clerk
of this Court within a reasonable period of time after service.

 

 

— Re DATE

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DEPUTY CLERK.
